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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                    )
ESTATE OF ASHLI BABBITT, and        )
AARON BABBITT, individually and on  )
behalf of the ESTATE OF ASHLI       )
BABBITT,                            )
                    Plaintiffs,     )
                                    )
      v.                            )                   Case No. 1:24cv1701-ACR
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                  Defendant.        )
____________________________________)

            DEFENDANT UNITED STATES’ OPPOSITION TO PLAINTIFF’S
                         MOTION TO RETRANSFER

        On June 12, 2024, the United States District Court for the Southern District of California

transferred this case to this district under 28 U.S.C. § 1404(a). ECF No. 14-1 (“Transfer Order”).

Mr. Babbitt now seeks retransfer to the Southern District of California, arguing that the case was

physically transferred to this Court without giving him sufficient time to seek review of the

transfer order by the Ninth Circuit through an extraordinary writ of mandamus. See generally,

ECF No. 21 (“Retransfer Motion”).

        Although Mr. Babbitt asserts that, absent retransfer, he will be denied the opportunity to

obtain review of the transfer decision, in Hill v. Henderson, 195 F.3d 671 (D.C. Cir. 1999), the

D.C. Circuit identified a procedure by which “a party transferred against its will can indirectly

secure at least partial review of the transfer in the transferee circuit by filing a motion for

retransfer, the denial of which is clearly reviewable by the court of appeals of the transferee

district.” Id. at 677 (emphasis in original).

        A party seeking retransfer must show that the transfer order is “clearly erroneous and

would work a manifest injustice.” Id. at 678 (citation and quotation marks omitted). Mr. Babbitt
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has not met this substantial burden. Neither 28 U.S.C. § 1404, nor any precedent, supports

allowing retransfer simply for the purpose of seeking mandamus review in the transferor court’s

circuit. Moreover, Mr. Babbitt fails to identify any clear error in the transfer order or establish

any manifest injustice resulting from it. Nor has he established any likelihood of success on the

merits of a mandamus petition to the Ninth Circuit Court of Appeals. Accordingly, Mr. Babbitt

is not entitled to retransfer the case to the Southern District of California, and the Court should

deny his motion.

                                          STATEMENT

       On January 5, 2024, Mr. Babbitt, individually and as the appointed personal

representative and administrator of the Estate of Ashli Babbitt, sued the United States under the

Federal Tort Claims Act, 28 U.S.C. §§ 1346; 2671-2680 (2018) (FTCA). He brought the lawsuit

in the United States District Court for the Southern District of California, where he resides. He

seeks damages for alleged negligent or wrongful acts or omissions by U.S. Capitol Police

officers and other federal officials in Washington, D.C. that he claims led to Ms. Babbitt’s death.

The FTCA’s venue provision lays venue in the judicial district “wherein the act or omission

complained of occurred,” or where the plaintiff resides. Id. § 1402(b). The United States moved

to transfer the case to the United States District Court for the District of Columbia, under 28

U.S.C. § 1404(a), for the convenience of the witnesses and parties, and in the interest of justice.

ECF No. 5. Mr. Babbitt opposed transfer. ECF No. 9.

       On June 12, 2024, following the parties’ briefing, the court determined that transfer to the

District of Columbia was justified for the convenience of the witnesses and parties, and in the

interests of justice. See generally, Transfer Order. The case was electronically transferred to this

district on June 12, 2024, and was docketed on June 14, 2024. ECF No. 15.




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         The United States’ deadline to file its partial motion to dismiss was July 12, 2024. ECF

  No. 8 (ordering United States to answer or respond to the complaint “no later than 30 days after

  the Court resolves the Defendant’s motion to transfer.”). On July 9, 2024, the parties met and

  conferred regarding Mr. Babbitt’s intent to bring this Retransfer Motion, and on July 10, 2024,

  the United States advised that it opposes the motion. Retransfer Motion at 6 (Certificate of

  Conferral). The United States filed its partial dismissal motion on July 12, 2024.1 ECF No. 16.

  On July 20, 2024, thirty-eight days after the transfer order issued, Mr. Babbitt filed this motion

  seeking retransfer.

                                             ARGUMENT

I.    Mr. Babbitt Has Not Met his Burden of Showing that the Transfer Order is Clearly
      Erroneous and Manifestly Unjust.

          Venue in civil cases in federal court is regulated by statute. See 28 U.S.C. § 1390(a).

  The only proper venue for suits brought under the FTCA is “in the judicial district where the

  plaintiff resides or wherein the act or omission complained of occurred.” Id. § 1402(b). By

  statute, Congress also regulated the circumstances under which a federal district court may

  transfer a case from one district where venue is proper to another such district. See id. § 1404(a).

  The transfer of this case from the Southern District of California to this district “for the

  convenience of parties and witnesses, [and] in the interest of justice” was authorized and

  appropriate under § 1404(a). Mr. Babbitt’s motion to retransfer for the purpose of seeking

  mandamus review of the transfer order is not authorized by any statute or precedent. For that

  reason, it must be denied.



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   On July 17, 2024, the Court issued a Minute Order denying, without prejudice, the United
  States’ motion to dismiss, and ordering the parties to first participate in a pre-motion conference,
  as required by Section 7(f) of the Court’s Standing Order, ECF No. 19, before a dismissal motion
  could be filed. That conference is scheduled for August 6, 2024. ECF No. 23.


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        Mr. Babbitt cites no authority supporting retransfer for the purpose of allowing the

transferor court’s court of appeals to review the transfer. The D.C. Circuit, however, has

specified the procedures available to a litigant whose case has been transferred “against its will,”

Hill, 195 F.3d at 677: A party seeking to challenge a §1404(a) transfer order after a case has

been sent to the transferee court, may file a retransfer motion in the transferee court, as Mr.

Babbitt has done. Id. Mr. Babbitt argues that “the interest of justice and fair play” justifies

retransfer, Retransfer Motion at 2, but that is not the correct standard. Instead, under Hill, Mr.

Babbitt must show that the transfer order is clearly erroneous and would work a manifest

injustice. 195 F.3d at 678 (advising “courts should be loathe to disturb the decision of a

coordinate court unless the initial decision was ‘clearly erroneous and would work a manifest

injustice.’” (quoting Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 816 (1988))).

        A litigant seeking retransfer must offer reasons sufficient to justify departing from the

law of the case established by the transfer order. Hill, 195 F.3d at 677 (reinforcing that “at the

time of a motion to retransfer[,] the transfer order would be law of the case binding the second

district court.”). This is, at bottom, a form of a motion for reconsideration. When faced with a

retransfer motion, “the court must, as a threshold matter, determine whether the law-of-the-case

doctrine effectively insulates the transfer from review.” FMC Corp. v. U.S. E.P.A., 557 F. Supp.

2d 105, 109 (D.D.C. 2008). Rarely will the court deviate from the law-of-the case.

Christianson, 486 U.S. at 819. And if a transferee district court resolving a retransfer motion

abuses its discretion, relief lies in the transferee district’s court of appeals. Hill, 195 F.3d at 677.

Hill does not support a retransfer motion simply to facilitate mandamus review in the transferor

court’s circuit.




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        Mr. Babbitt develops no argument that the Southern District of California’s decision to

transfer the case to this district constituted clear error causing manifest injustice. Id. at 678.

Nor could he. There was no clear error.

        The Southern District of California carefully considered all the relevant transfer criteria.

That court concluded that (i) all the acts giving rise to this action occurred in Washington, D.C.

making it a proper venue under the FTCA (which Plaintiff conceded), Transfer Order at 3; (ii)

the majority of relevant non-party and party witnesses reside in or near Washington, D.C., id. at

6-10; (iii) almost all physical and documentary evidence is in Washington, D.C., id. at 10; (iv)

courts in this district have greater familiarity with D.C. substantive law, which applies to

Plaintiff’s claims, id. at 10-11; and (v) Washington, D.C. has a stronger local interest in the

controversy because Ms. Babbitt’s death and all the events giving rise to it occurred there, id. at

11-12. The court explained that where, like here, all “the alleged tortious conduct occurred

entirely in the District of Columbia” a plaintiff’s forum choice is “afforded less deference.” Id.

at 5. Accordingly, the court determined that Plaintiff’s forum choice did not weigh significantly

against transfer. Id. Finally, the court concluded that the convenience of the parties, id. at 5-6,

the possibility of consolidating the case with other related cases, id. at 12, and the relative court

congestion between the forums, id. at 13, were neutral factors with respect to transfer.

Considering all these factors, the court held that transfer to this district was warranted. Id. Mr.

Babbitt’s mere disagreement with the decision, Retransfer Motion at 2 (asserting, without further

explanation, that the transfer order was “contrary to law”), does not establish clear error, cf.

Klayman v. Jud. Watch, Inc., 296 F. Supp. 3d 208, 215 (D.D.C. 2018) (denying plaintiff’s

motion for reconsideration which merely disagreed with the court’s analysis and failed to

identify clear errors of law). Nor was it clear error for the court to resolve the motion on the




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papers. See Starnes v. McGuire, 512 F.2d 918, 934 (D.C. Cir. 1974) (en banc) (“We do not hold

that a hearing is necessarily required on every transfer motion….” (citation and internal

quotation marks omitted)).

       Mr. Babbitt also does not—and cannot—demonstrate that the transfer motion caused any

manifest injustice. He argues that the Southern District of California’s transfer of the case to this

district on the same day that the transfer order issued precluded him from seeking mandamus

review in the Ninth Circuit and, therefore, rendered the transfer order unreviewable. Retransfer

Motion at 3-4. But the speed with which this case was transferred after the transfer order issued

does not bear on whether the decision to transfer was itself clear error causing manifest injustice.

       Mr. Babbitt claims “prejudice” because the Ninth Circuit allows mandamus review of

inter-circuit transfer orders, while the D.C. Circuit does not. Retransfer Motion at 4-5. But he

does not explain how this distinction in fact prejudices him. Regardless, the Ninth Circuit

overturned that proposition in Posnanski v. Gibney, 421 F.3d 977, 980 (9th Cir. 2005), stating,

“We know of no principle in American law that permits a circuit court of appeals to review, as

such, a transfer order issued by a district court in another circuit. Such transfer orders, as we

now hold, are reviewable only in the circuit of the transferor district court.” See also In re U.S.

Dep’t of Educ., 25 F.4th 692, 698 (9th Cir. 2022).

       Mr. Babbitt asserts that, absent retransfer, the transfer order will evade review. But the

swift transfer does not deprive Mr. Babbitt of the opportunity to seek relief from a court of

appeals, given the indirect review procedures Hill establishes. Nor do the procedures outlined in

Hill transgress any principle of justice or fair play. Hill offers Mr. Babbitt the opportunity to

have his retransfer motion heard by this Court and, should he disagree with its decision, he may

seek relief from the D.C. Circuit. 195 F.3d at 677. The chance to seek the extraordinary relief of




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a writ of mandamus in the Ninth Circuit does not meaningfully enhance the potential remedies

available to him where, like here, the same standard of review applies. Compare Jones v. Gasch,

404 F.2d 1231, 1242 (D.C. Cir. 1967) (applying abuse of discretion standard in review of

transfer motion) with Ventress v. Japan Airlines, 486 F.3d 1111, 1118 (9th Cir. 2007) (same).

        Mr. Babbitt’s proposed procedure risks sending this case into an undesirable “perpetual

game of jurisdictional ping-pong.” Christianson, 486 U.S. at 818. Indeed, if Mr. Babbitt’s

theory were valid, there is no reason why, if such a motion were granted, the Government could

not itself seek mandamus review in the D.C. Circuit. Mr. Babbitt points to no precedent

permitting the kind of extra-statutory transfer procedure he proposes.

       The cases Mr. Babbitt cites, Retransfer Motion at 3-4, are inapposite. In Starnes, 512

F.2d at 935, the D.C. Circuit neither discussed nor held that it is appropriate for a district court to

return a case to the transferor court to file a mandamus petition in the transferor district’s court of

appeals; instead, it discussed a district’s “practice” of waiting ten days before carrying out a

transfer order. Mr. Babbitt does not show that the Ninth Circuit or Southern District of

California follow a similar practice or violated any practice or rule of those courts. Fine v.

McGuire, 433 F.2d 499 (D.C. Cir. 1970), and Preston Corp. v. Raese, 335 F.2d 827 (4th Cir.

1964), are inapposite because both cases concerned the return of a case to the original forum

upon the request of the transferor court’s circuit, which has not occurred here.

       Because Mr. Babbitt has not shown that the transfer order is clearly erroneous causing a

manifest injustice, it is the “law of the case binding” this Court. Hill, 195 F.3d at 677; see also

FMC Corp., 557 F. Supp. 2d at 109. Therefore, the Retransfer Motion must be denied.




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II.   Mr. Babbitt Cannot Show a Reasonable Likelihood of Success on the Merits.

          Mr. Babbitt’s motion should be denied for an additional, independent reason: he makes

   no effort to show that a mandamus petition has a reasonable likelihood of success in the

   transferor court’s court of appeals. The Ninth Circuit has recognized that “[m]andamus may

   sometimes be appropriate to correct a clearly erroneous transfer order,” but that even a clear

   legal error may not warrant granting the writ. In re Bozic, 888 F.3d 1048, 1054 (9th Cir. 2018).

   Instead, the Ninth Circuit looks to a host of factors, including whether there was an abuse of

   judicial power, whether the petitioner has other means to obtain relief, whether the petitioner will

   be harmed in a way that cannot be corrected on appeal, whether the transfer order repeats a

   common error or persistently disregards the federal rules and whether the order raises important

   issues or questions of first impression. Id. at 1052; see also In re Van Dusen, 654 F.3d 838, 841

   (9th Cir. 2011).

          Mr. Babbitt makes no showing on any of these factors. Nor could he. The transferor

   court carefully analyzed all the relevant transfer criteria, considered all the parties’ arguments,

   and applied the relevant case law. See supra, at 5. Mr. Babbitt makes no effort to explain what

   he thinks the court got wrong or why he is entitled to the extraordinary writ of mandamus.

   Therefore, he has offered no basis for concluding that a mandamus petition would succeed.

                                             CONCLUSION

          For the foregoing reasons, the Court should deny Mr. Babbitt’s motion to retransfer the

   case to the Southern District of California.



   Dated: August 5, 2024                          Respectfully submitted,

                                                  BRIAN M. BOYNTON
                                                  Principal Deputy Assistant Attorney General,



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